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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:

KFI WIND-DOWN CORP., 1                                      Chapter 11

         Debtor.                                            Case No. 23-10638 (LSS)

                                                            Hearing Date: November 7, 2024 at 2:00 p.m. ET
                                                            Objection Deadline: October 3, 2024 at 4:00 p.m. ET



         FIFTH INTERIM FEE APPLICATION OF SULLIVAN & CROMWELL LLP

                      In accordance with the Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals [D.I. 205] (the “Interim Compensation Order”),

Sullivan & Cromwell LLP (“S&C”) hereby submits this fifth interim fee application request as

counsel for the above-captioned debtor and debtor-in-possession (the “Debtor”), for allowance of

monthly compensation and for monthly reimbursement of all actual and necessary expenses

incurred for the period of May 1, 2024 through July 31, 2024 (the “Application Period”).

Exhibits A, B and C attached hereto contain certain schedules pursuant to the U.S. Trustee’s

Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases (the “UST Guidelines”).

                      In addition, S&C respectfully states as follows to address the questions set forth

under paragraph C.5 of the UST Guidelines:

                      Question: Did you agree to any variations from, or alternatives to, your standard
                      or customary billing rates, fees or terms for services pertaining to this engagement
                      that were provided during the application period? If so, please explain.

                      Response: No. Although S&C does not normally charge clients based on hourly
                      rates, with the exception of fees prohibited by the UST Guidelines, the fees sought
                      in the Application are billed at rates that are the same (or less than) the rates

1
    The last four digits of KFI Wind-Down Corp.’s tax identification number are 5282. The Debtor’s corporate
    headquarters is located at c/o AlixPartners 909 Third Avenue, New York, NY 10022.



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                      customarily used by S&C when preparing estimates of fees under its normal billing
                      procedures for non-bankruptcy engagements.

                      Question: If the fees sought in this fee application as compared to the fees
                      budgeted for the time period covered by this fee application are higher by 10% or
                      more, did you discuss the reasons for the variation with the client?

                      Response: Not applicable.

                      Question: Have any of the professionals included in this fee application varied
                      their hourly rate based on the geographic location of the bankruptcy case?

                      Response: No.

                      Question: Does the fee application include time or fees related to reviewing or
                      revising time records or preparing, reviewing, or revising invoices? (This is limited
                      to work involved in preparing and editing billing records that would be not be
                      compensable outside of bankruptcy and does not include reasonable fees for
                      preparing a fee application.) If so, please quantify by hours and fees.

                      Response: No, no fees are billed for time spent under the “Time Entry Review”
                      project code.

                      Question: Does this fee application include time or fees for reviewing time records
                      to redact any privileged or other confidential information? If so, please quantify by
                      hours and fees.

                      Response: Yes, the time spent reviewing time records to redact any privileged or
                      other confidential information was 36.5 hours for $47,847.50 in fees.

                      Question: If the fee application includes any rate increases since retention: (i) Did
                      the client review and approve those rate increases in advance? (ii) Did the client
                      agree when retaining S&C to accept all future rate increases? If not, did S&C
                      inform the client that they need not agree to modified rates or terms in order to have
                      you continue the representation, consisted with ABA Formal Ethics Opinion 11-
                      458?

                      Response: Pursuant to the Third Supplemental Declaration of Andrew G.
                      Dietderich in Support of Debtors’ Application for an Order Authorizing the
                      Retention and Employment of Sullivan & Cromwell LLP as Counsel to the Debtor
                      and Debtor-in-Possession Nunc Pro Tunc to the Petition Date [D.I. 773], S&C
                      adjusted its standard billing rates as of January 1, 2024. The Debtor received
                      notice of, and approved, the hourly rate increases set forth therein.

                      S&C seeks approval for the following fee applications that were filed in the

Application Period:


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     Fee                                                         Certificate of                   Amount of
                   Period                             Total                        Amount of                   Amount of
Application                          Total Fees                  No Objection,                    Expenses
                 Covered by                         Expenses                      Fees Allowed                  Holdback
Filing Date,                         Requested                    Filing Date,                     Allowed
                 Application                        Requested                        (80%)                     Fees Sought
Docket No.                                                        Docket No.                       (100%)

06/28/2024.      05/01/2024-                                      07/19/2024,
                                      $830,831.50     $744.03                      $664,665.20       $744.03    $166,166.30
[D.I. 1300]      05/31/2024                                       [D.I. 1352]
07/31/2024,      06/01/2024-                                      08/21/2024,
                                    $1,106,664.10    $1,804.38                     $885,331.28     $1,804.38    $221,332.82
[D.I. 1362]      06/30/2024                                       [D.I. 1422]
08/30/2024,      07/01/2024-
                                      $840,418.50    $1,137.81       N/A           $672,334.80     $1,137.81    $168,083.70
[D.I. 1444]      07/31/2024
                 05/01/2024-
   Total                            $2,777,914.10    $3,686.22                    $2,222,331.28    $3,686.22    $555,582.82
                 07/31/2024

                                 WHEREFORE, S&C, in accordance with the Interim Compensation Order,

           respectfully requests that the Court approve the full amount of fees and expenses requested in the

           above-reference fee applications and such other and further relief as is just and proper.


            Dated: September 13, 2024                        /s/ Andrew G. Dietderich
                   New York, NY                              Andrew G. Dietderich
                                                             Brian D. Glueckstein
                                                             Justin J. DeCamp
                                                             Alexa J. Kranzley
                                                             SULLIVAN & CROMWELL LLP
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                                                                           kranzleya@sullcrom.com

                                                             Counsel to the Debtor and Debtor-in-Possession




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                         CUMULATIVE COMPENSATION SUMMARY BY PROFESSIONAL

                    SUMMARY OF FEES BY INIVIDUAL FOR THE APPLICATION PERIOD
                        (MAY 1, 2024 THROUGH AND INCLUDING JULY 31, 2024) 1

                                 Position, Area of Expertise, Year Obtaining                               Total Hours          Total
   Timekeeper Name                                                                     Hourly Rate
                                             License to Practice                                              Billed         Compensation
Ansari, Mehdi                    Partner, Intellectual Property, 2009                      $2,375.00            22.40            $53,200.00
Bander, Jeannette E.             Partner, Executive Compensation, 2012                     $2,295.00             1.60             $3,672.00
DeCamp, Justin J.                Partner, Litigation, 2006                                 $2,375.00           126.20           $299,725.00
Dietderich, Andrew G.            Partner, Finance and Restructuring, 1997                  $2,375.00           132.90           $315,637.50
Dunne, Christopher J.            Partner, Litigation, 2006                                 $2,375.00             0.70             $1,662.50
Giuffra Jr., Robert J.           Partner, Litigation, 1989                                 $2,375.00            30.60            $72,675.00
Glueckstein, Brian D.            Partner, Bankruptcy Litigation, 2004                    $1,188.00**             0.70               $831.60
Glueckstein, Brian D.            Partner, Bankruptcy Litigation, 2004                      $2,375.00           104.70           $248,662.50
Kranzley, Alexa J.               Partner, Finance and Restructuring, 2009                  $2,160.00            18.20            $39,312.00
Lee, Ha Jin                      Partner, Tax, 2016                                        $1,695.00             0.50               $847.50
Pagnani, Keith A.                Partner, M&A, 1990                                        $2,375.00             4.60            $10,925.00
Wu, Mimi                         Partner, M&A, 2016                                        $1,695.00            18.00            $30,510.00
Partner Total                                                                                                  461.10         $1,077,660.60
Toprani, Akash M.                Special Counsel, Litigation, 2013                          $1,675.00           33.20            $55,610.00
Special Counsel Total                                                                                           33.20            $55,610.00
                                 Practice Area Associate, Intellectual Property,
DeMarco, Raffaele A.             2003                                                       $1,060.00            9.70           $10,282.00
Bekker, William V.               Associate, General Practice, 2020                          $1,450.00            1.20            $1,740.00
Charnell, Peter C.               Associate, Litigation, 2021                                $1,295.00            5.70            $7,381.50
Fronk, Michael A.                Associate, M&A, 2019                                       $1,490.00           49.90           $74,351.00
Greene, Miles H.                 Associate, Litigation, 2021                                $1,395.00          144.00          $200,880.00
Han, Yaqi                        Associate, M&A, 2020                                       $1,450.00          239.60          $347,420.00
Hirt, Michael E.                 Associate, Litigation, 2024                                  $850.00            5.80            $4,930.00
Huffman, Zachary D.              Associate, Litigation, 2022                                $1,295.00           12.70           $16,446.50
Kim, HyunKyu                     Associate, Tax, 2022                                       $1,395.00            0.50              $697.50
Lim, KJ                          Associate, Intellectual Property, 2021                     $1,490.00            1.90            $2,831.00
Marchello, Matthew J.            Associate, Litigation, in process                          $1,295.00           64.30           $83,268.50
Mathew, Alton S.                 Associate, General Practice, 2024                            $850.00          139.90          $118,915.00
Merriam, William J.              Associate, General Practice, 2024                            $850.00           86.80           $73,780.00
Neuman Schiff, Elianne           Associate, Intellectual Property, 2021                     $1,395.00          109.50          $152,752.50
Ninivaggi, Jane V.               Associate, General Practice, 2024                            $850.00           33.70           $28,645.00
Profeta, Stephen J.              Associate, Tax, 2022                                       $1,295.00            2.30            $2,978.50
Rabinowitz, Rebecca M.           Associate, Executive Compensation, 2021                    $1,395.00            9.30           $12,973.50
Reiner, Ariel N.                 Associate, Litigation, 2023                                  $995.00           16.70           $16,616.50
Smiley, Morgan K.                Associate, General Practice, 2023                            $995.00          120.20          $119,599.00
Son, Grace M.                    Associate, Intellectual Property, 2021                     $1,395.00            2.60            $3,627.00
Valentin, Krystal D.             Associate, Litigation, 2021                                $1,450.00            7.90           $11,455.00

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               For certain timekeepers, his or her individual rate increased during the relevant fee period as a result of
               matriculation.



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                                 Position, Area of Expertise, Year Obtaining                  Total Hours      Total
   Timekeeper Name                                                             Hourly Rate
                                             License to Practice                                 Billed     Compensation
Yu, Meng                  Associate, Finance and Restructuring, 2021              $1,395.00     210.20         $293,229.00
Associate Total                                                                                1,274.40      $1,584,799.00
Lawyers Total                                                                                  1,768.70      $2,718,069.60
Huang, Frank J.           Summer Associate                                          $0.00*       17.20               $0.00
Baldini, Michael X.       Paralegal, Litigation                                     $0.00*        7.00               $0.00
Bjarnason, Maxim H.       Paralegal, Restructuring                                  $0.00*        8.90               $0.00
Bjarnason, Maxim H.       Paralegal, Restructuring                                 $450.00        1.10             $495.00
Brice, Mac L.             Paralegal, Restructuring                                  $0.00*       30.20               $0.00
Brice, Mac L.             Paralegal, Restructuring                                 $450.00       32.50          $14,625.00
Eikins, Esther O.         Paralegal, Litigation                                    $450.00        6.90           $3,105.00
Eikins, Esther O.         Paralegal, Litigation                                    $565.00        0.80             $452.00
Foley, Aidan W.           Paralegal, Restructuring                                  $0.00*       16.00               $0.00
Foley, Aidan W.           Paralegal, Restructuring                                 $450.00       21.60           $9,720.00
Kim, Scott J.             Paralegal, General Practice                              $650.00       32.80          $21,320.00
Ontiveros, Virginia E.    Paralegal, Litigation                                    $565.00        0.30             $169.50
Schlossberg, Harrison     Paralegal, Restructuring                                  $0.00*        9.40               $0.00
Schlossberg, Harrison     Paralegal, Restructuring                                 $565.00        5.90           $3,333.50
Smith, Ryan M.            Paralegal, Litigation                                    $450.00        2.60           $1,170.00
Torelli, Marissa G.       Paralegal, Litigation                                    $565.00        7.30           $4,124.50
West, Thomas D.           Paralegal, General Practice                              $450.00        2.30           $1,035.00
Chiam, Karen              Legal Analyst - Discovery                                $650.00        0.20             $130.00
Lampariello, Alla P.      Electronic Discovery                                     $550.00        0.30             $165.00
Non Legal Personnel Total                                                                       203.30          $59,844.50
GRAND TOTAL                                                                                    1,972.00      $2,777,914.10
BLENDED RATE                                                                                   1,972.00          $1,409.00
ATTORNEY BLENDED RATE                                                                          1,768.70          $1,537.00

           * Zero rate appears wherever no fee was charged for work.
           **50% rate appears where time is charged for non-working travel.




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                  SUMMARY OF COMPENSATION BY PROJECT CATEGORY 1
                   (MAY 1, 2024 THROUGH AND INCLUDING JULY 31, 2024)

                    Project Name                                                         Hours         Fee Amount
ASSET ANALYSIS AND RECOVERY                                                                     -             $0.00
ASSET DISPOSITION                                                                          847.90     $1,042,593.50
ASSUMPTION AND REJECTION OF LEASES AND CONTRACTS                                                -             $0.00
AVOIDANCE ACTION ANALYSIS                                                                       -             $0.00
BUSINESS OPERATIONS                                                                         31.80        $37,405.00
CASE ADMINISTRATION                                                                          7.90        $10,679.50
CLAIMS ADMINISTRATION AND OBJECTIONS                                                        23.70        $30,314.00
CORPORATE GOVERNANCE AND BOARD MATTERS                                                      69.20       $110,042.00
EMPLOYEE BENEFITS AND PENSIONS                                                                  -             $0.00
EMPLOYMENT AND FEE APPLICATIONS (S&C)                                                      127.20       $117,456.00
EMPLOYMENT AND FEE APPLICATIONS (OTHERS)                                                    33.00        $40,926.50
FINANCING AND CASH COLLATERAL                                                                   -             $0.00
OTHER LITIGATION                                                                            80.60       $109,402.00
MEETINGS AND COMMUNICATIONS WITH CREDITORS                                                   2.10         $3,919.00
NON-WORKING TRAVEL                                                                           0.70           $831.60
PLAN AND DISCLOSURE STATEMENT                                                               99.60       $169,532.50
RELIEF FROM STAY AND ADEQUATE PROTECTION                                                        -             $0.00
TAX                                                                                             -             $0.00
VALUATION                                                                                       -             $0.00
DISCOVERY                                                                                       -             $0.00
HEARINGS                                                                                     8.10        $17,071.00
FIRST AND SECOND DAY MOTIONS                                                                 0.50         $1,187.50
CLAIMS INVESTIGATION                                                                            -             $0.00
LIEN INVESTIGATIONS                                                                             -             $0.00
SCHEDULES, SOFAS AND REPORTING                                                              15.80        $17,574.50
OTHER MOTIONS/APPLICATIONS                                                                  10.90        $18,202.00
TIME ENTRY REVIEW                                                                           71.50             $0.00
BUDGETING                                                                                    2.40         $2,721.00
MEDIATION                                                                                  437.60       $881,438.50
INSURANCE ADVERSARY PROCEEDING                                                             101.50       $166,618.00
TOTAL                                                                                   1,972.00      $2,777,914.10




 1
     The subject matter of certain time entries may be appropriate for more than one project category. In such
     instances, time entries generally have been included in the most appropriate category. Time entries do not
     appear in more than one category.



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                       EXPENSE SUMMARY FOR THE APPLICATION PERIOD
                      (MAY 1, 2024 THROUGH AND INCLUDING JULY 31, 2024)

                                        Disbursement Summary
                              Expense Category             Amount
                         Repro – B&W Copies                        $7.80
                         Delivery/Courier                         $17.95
                         Local Transportation                  $1,005.45
                         Travel + Expenses                       $477.52
                         Meals – Overtime                        $640.00
                         CT Corp/CSC                           $1,537.50
                                              TOTAL            $3,686.22




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